            Case 2:05-cr-00227-MCE Document 41 Filed 07/18/06 Page 1 of 3


 1   LORIE J. TEICHERT
     Attorney at Law
 2   California State Bar No. 142271
     1322 F Street
 3   Sacramento, CA 95814
     Telephone: (916) 441-4410
 4   Facsimile: (916) 441-4202
 5   Attorney for Defendant
     HECTOR MANRIQUEZ
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         No. 2:05-cr-227-MCE
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )         STIPULATION AND ORDER
                                   )
14   HECTOR MANRIQUEZ,             )
                                   )
15             Defendant.          )
     ______________________________)
16
17         IT IS HEREBY stipulated between the parties, Plaintiff
18   United States of America, by and through United States Attorney
19   McGregor W. Scott and Assistant United States Attorney Phillip A.
20   Talbert, and Defendant, Hector Manriquez, through his attorney,
21   Lorie J. Teichert, that the previously set Status Conference of
22   July 18, 2006 be continued to September 12, 2006 at 8:30 a.m.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

                                         1
            Case 2:05-cr-00227-MCE Document 41 Filed 07/18/06 Page 2 of 3


 1         It is further stipulated and agreed between the parties that
 2   the period from July 18, 2006 to and including September 12, 2006
 3   should be excluded in computing the time within which the trial
 4   of the above criminal prosecution must commence for purposes of
 5   the Speedy Trial Act for the purpose of securing documents
 6   regarding the background of the defendant, further research
 7   relating to potential immigration consequences, evaluation of a
 8   possible plea disposition, and further settlement discussions.
 9         At present, the defense is awaiting certain documents
10   relating to defendant’s background and immigration history.
11   These records are necessary for the defense to complete its
12   research and properly advise the defendant regarding the possible
13   immigration consequences of alternative resolutions of this
14   matter.   In addition, the Government and defense have been in
15   communication regarding the possible resolution of the case.           The
16   defense wishes to continue these settlement discussions with the
17   Government.   All parties stipulate and agree that the exclusion
18   of time from July 18, 2006 to and including September 12, 2006 is
19   an appropriate exclusion of time within the meaning of Title 18,
20   United States Code, section 3161(h)(8)(B)(iv), and Local Code T4.
21   Dated: July 17, 2006               Respectfully submitted,
22
                                          /s/ Lorie J. Teichert
23                                      LORIE J. TEICHERT
                                        Attorney for Defendant
24                                      Hector Manriquez
25   ///
26   ///
27   ///
28   ///

                                         2
           Case 2:05-cr-00227-MCE Document 41 Filed 07/18/06 Page 3 of 3


 1   Dated: July 17, 2006              McGREGOR W. SCOTT
                                       United States Attorney
 2
 3                                     By: /s/ Phillip A. Talbert
                                          PHILLIP A. TALBERT
 4                                        Assistant U.S. Attorney
 5
 6                                    ORDER
 7        IT IS SO ORDERED.
 8   DATED: July 17, 2006
 9
10
                                       _____________________________
11                                     MORRISON C. ENGLAND, JR
12                                     UNITED STATES DISTRICT JUDGE

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         3
